     Case 19-30839-RG           Doc 48-1 Filed 05/05/22 Entered 05/09/22 14:15:55                      Desc Ntc
                                    of Dismissal of Case Page 1 of 1
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 19−30839−RG
                                         Chapter: 13
                                         Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Cassandra A. Dock
   PO Box 25331
   Newark, NJ 07101
Social Security No.:
   xxx−xx−2277
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 5/5/22.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: May 9, 2022
JAN: slm

                                                                 Jeanne Naughton
                                                                 Clerk
